      Case 1:25-cv-00766-JEB         Document 123-5       Filed 05/11/25      Page 1 of 1




         UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

J.G.G. et al.,                              )       Case No. 1:25-cv-766 (JEB)
                Plaintiff,                  )
                v.                          )
DONALD J. TRUMP, in his official )
capacity as President of the United )
States, et al.,                             )
                Defendant.                  )


                 [PROPOSED] Order on Meghan Kelly’s Motion to file amicus Brief

Before the Court is the motion of Meghan Kelly for leave to file a brief as amicus curiae. Good

cause appearing therefore, the motion is GRANTED.

It is SO ORDERED.




                                            Dated this ____ day of __________, 2025




                                            _____________________________________
                                            The Honorable Chief Judge James E. Boasberg
